                       Case 2:23-cr-00197-JS-AYS Document 21-1 Filed 05/30/23 Page 1 of 1 PageID #: 89

TO: Clerk's Office                                                      FILED
    UNITED STATES DISTRICT COURT                                    IN CLERK'S OFFICE
                                                              U.S. DISTRICT COURT E.D.N.Y.
    EASTERN DISTRICT OF NEW YORK
                                                                      MAY so 2023
      APPLICATION FOR LEAVE
                                                              *                             *
    TO FILE DOCUMENT UNDER SEAL                                LONG ISLAND OFFICE

                                                                                          A) If pursuant to a prior Court Order:
********************************                                                          Docket Number of Case in Which Entered: _ _ _ _ _ __
USA                                                                                       Judge/Magistrate Judge: _ _ _ _ _ _ _ _ _ _ _ __
                                                                                          Date Entered:
                                                      23-CR-197
                                                                                                        -----------------
             -v.-
                                                      Docket Number

********************************
                                                                                          B) If a new application, the statute, regulation, or other legal basis that
SUBMITTED BY: Plaintiff__ Defendant DOJ                                                   authorizes filing under seal
Name:- - - - - - - - - - - - - - - - -
Finn Name:- - - - - - - - - - - - - - -
Address:_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Phone Number:                                                                             ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
E-Mail Address:-
               _-_-
                  _-_-
                     _-_-
                        _-_-
                           _-_-
                              _-_-_-
                                   _                                                      AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                          THE COURT.
INDICATE UPON THE PUBLIC DOCKET SHEET: YES               NO
If yes, state description of document to be entered on docket sheet:                      DATED: 5'l 3ol2.3 CENTRAL ISLIP, NEW YORK
                                                                                          Isl Anne Y. Shields


                                                                                          U.S. DISTRICT JUDGE/U.S. MAGISTRATE JUDGE

                                                                                          RECEIVED IN CLERK'S OFFICE_ _ _ _ _ _ _ _ __
                                                                                                                         DATE
MANDATORY CERTIFICATION OF SERVICE:
A.)_ A copy of this application either has been or will be promptly served upon all parties to this action, B.) _  Service is excused by 31 U.S.C. 3730(b), or
by the following other statute or regulation:      · or C.) _ _This is a criminal document submitted, and flight public safety, or security are significant
concerns. (Check one)


                               DATE                                       SIGNATlJRE
